                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,
                                                             Case No. 25-cv-10676
              Plaintiffs,

                   v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.


                            MOTION FOR CLASS CERTIFICATION

          Plaintiffs respectfully move for an order, pursuant to Federal Rule of Procedure 23,

provisionally and permanently certifying a class pursuant to Rule 23(b)(2), appointing Plaintiffs

as class representatives, and appointing their counsel as class counsel. Specifically, Plaintiffs

move to provisionally certify the following class:

       All individuals who have a final removal order issued in proceedings under Section
       240, 241(a)(5), or 238(b) of the INA (including withholding-only proceedings)
       whom DHS has deported or will deport on or after February 18, 2025, to a country
       (a) not previously designated as the country or alternative country of removal, and
       (b) not identified in writing in the prior proceedings as a country to which the
       individual would be removed.

The grounds for this motion are set forth in the accompanying memorandum of law, exhibits in

support thereof, the Complaint, the concurrently filed emergency motion for a temporary

restraining order and preliminary injunction and stay of administrative action, and the

applicable law. A proposed order also accompanies this motion.




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                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Plaintiffs believe that oral argument may assist the Court.

Respectfully submitted,

 s/Tomás Arango
 Tomas Arango                                 Matt Adams*
 Trina Realmuto*                              Leila Kang*
 Kristin Macleod-Ball*                        Aaron Korthuis*
 Mary Kenney*                                 Glenda M. Aldana Madrid*
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                                    Attorneys for Plaintiffs

 * Application for admission pro hac vice forthcoming

Dated: March 23, 2025




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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), I emailed Rayford Farquhar,

Deputy Chief, Civil Division and Chief, Defensive Litigation for the Civil Division of the

United States Attorneys’ Office for the District of Massachusetts on March 21, 2025 to advise

him of the forthcoming litigation, including the instant motion for class certification seeking

provisional class certification. I further stated that I would email him, or whomever he wished

to designate, copies of Plaintiffs’ filings after they were docketed, and that Plaintiffs would

arrange for personal service on his office on Monday morning, March 24, 2025.

       This communication was an attempt to resolve the issues raised in this motion. Mr.

Farquhar has not yet responded to my email at the time of this filing and, therefore, the parties

were unable to reach a resolution.


s/ Trina Realmuto
Trina Realmuto




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